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 5
     Attorney for Defendant
 6   ROBERT HODGES
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,  )
                                ) Case No. CR.S-04-0118-LKK
12                Plaintiff,    )
                                ) ORDER ON DEFENSE MOTION TO
13       v.                     ) DISMISS COUNTS 20-30 OF THE
                                ) INDICTMENT
14                              )
                                )
15   ROBERT OLIVER, ET AL.      ) Date: August 26, 2008
                                ) Time: 9:30 a.m.
16                Defendant.      Judge: Hon. Lawrence K.
     __________________________       Karlton
17
           All of the parties appeared before this court this date upon the
18
     defendants motion to dismiss counts 10-19 and counts 20-30 which are
19
     counts charging money laundering under 18 U.S.C. §1957 and §1956 (a)(1)
20
     (A)(i).
21
           After oral argument of the parties, the court ruled as follows:
22
           Counts 20-30 of the indictment are hereby dismissed without
23
     prejudice. Counts 10-19 are not subject to dismissal at this time.
24
25
26
27
28   Order On Motion To Dismiss Counts 20-30
             Case 2:04-cr-00118-LKK Document 143 Filed 08/28/08 Page 2 of 2


 1          Approved as to form and content:
 2          August 27, 2008.
 3                                            /s/ MARK J. REICHEL
                                              MARK J. REICHEL
 4                                            Attorney for Defendant
                                              Robert Hodges
 5
                                              /s/ Bruce Locke_____
 6                                            BRUCE LOCKE
                                              Attorney for defendant
 7                                            David Harrison
 8                                            _/s/ Scott Tedmon
                                              SCOTT TEDMON
 9                                            Attorney for Defendant
                                              Robert Oliver
10
11
                                              McGREGOR W. SCOTT
12                                            United States Attorney
13             August 27, 2008.               /s/ _________________
                                              JOHN VINCENT
14                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
15
16                                       O R D E R
17          IT IS SO ORDERED.
18   DATED: August 27, 2008
19
20
21
22
23
24
25
26
27
28   Stip and Order                            2
